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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
                                            CASE NO. CR S-96-0350 WBS
12             Plaintiff,
13        v.                                MEMORANDUM AND ORDER RE:
                                            DEFENDANT’S MOTION TO DISMISS
14                                          COUNTS UNDER 18 U.S.C. §
                                            1956(h)
15
     JOHN THAT LUONG, et al.,
16
               Defendants.
17
                                 ----oo0oo----
18
19             Defendant John That Luong is one of seven defendants
20   named in the indictment in this case.       Luong now moves to dismiss
21   all money laundering conspiracy counts in his indictment on the
22   grounds that the conduct alleged in those counts constituted an
23   offense under 18 U.S.C. § 371 and not, as charged, under 18
24   U.S.C. § 1956(h).
25   I.   Factual and Procedural Background
26             On July 16, 1998, a Grand Jury returned a 72-page
27   indictment charging Luong and six other defendants with, inter
28   alia, 13 Counts of Conspiracy to Launder Monetary Instruments in

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1    violation of 18 U.S.C. § 1956(h).          The indictment described a
2    series of transactions, funded by proceeds from a pattern of
3    racketeering, robberies, and drug transactions, that included:
4    (1) the purchase of property located at 110 Burwood Way, Folsom,
5    Ca, (2) the purchase of a swimming pool built on the Burwood Way
6    property, (3) the purchase of a business, Connie’s Drive-Inn, and
7    (4) the purchase several luxury automobiles.           (July 16, 1998
8    Superseding Indictment Counts 1, 12, 15, 24, 29.)
9                 Each count involving Luong and a violation of 18 U.S.C.
10   § 1956(h) alleges that Luong and others knowingly conspired “to
11   commit offenses against the United States, specifically:
12   laundering of monetary instruments, in violation of 18 U.S.C.
13   Section 1956(a)(1) . . . .”1        These counts go on to list the
14   “Overt Acts” taken in furtherance of the conspiracy.
15                Luong contends that the indictment as worded does not
16   charge him with conduct that constitutes an offense proscribed by
17   18 U.S.C. § 1956(h).       (Def.’s Mot. to Dismiss Money Laundering
18   Conspiracy Counts 3.)       Specifically, he argues that the caption
19   for each count, identifying the charge as one under 18 U.S.C. §
20   1956(h), is “mere surplusage” and the language of the charge,
21   alleging a “conspiracy to commit offenses against the United
22   States” rather than “conspiracy to commit Section 1956(a)(i)” is
23   fatally flawed.      (Id. at 2.)     Additionally, Luong notes that the
24   inclusion of “Overt Acts” suggests that the general conspiracy
25   statute, 18 U.S.C. § 371, which carries a lower maximum sentence,
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               Counts 15, 24, and 29 further specifically allege that
27   the accused defendants “engag[ed] in monetary transactions in
     property derived from specified unlawful activity--as further
28   delineated in [subsequent counts].”

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1    is applicable here, rather than the specific money laundering
2    statute.    (Id.)   Based on these defects, defendant argues that he
3    has not been “plainly and unmistakably” charged with conspiracy
4    to launder money, in violation of his due process rights.
5    II.   Discussion
6                An indictment “must be a plain, concise and definite
7    written statement of the essential facts constituting the offense
8    charged.”    Fed. R. Crim. P. 7(c)(1).     “Generally, an indictment
9    is sufficient if it sets forth the elements of the charged
10   offense so as to ensure the right of the defendant not to be
11   placed in double jeopardy and to be informed of the offense
12   charged.”    United States v. Rodriguez, 360 F.3d 949, 958 (9th
13   Cir. 2004); see also United States v. Lane, 765 F.2d 1376, 1380
14   (9th Cir. 1985).    Relevant to the counts challenged in this
15   motion, 18 U.S.C. § 1956(h) prescribes the penalties for any
16   conspiracy to violate § 1956 or 1957.       Id. (“Any person who
17   conspires to commit any offense defined in this section or
18   section 1957 shall be subject to the same penalties as those
19   prescribed for the offense the commission of which was the object
20   of the conspiracy.”).    Thus, the indictment here needed only to
21   inform Luong that he was charged with a conspiracy to violate 18
22   U.S.C. § 1956 or § 1957.
23               Defendant’s argument that the indictment only charges
24   him generally with “conspiracy to commit offenses against the
25   United States” is simply wrong.      In each count captioned as
26   falling under 18 U.S.C. 1956(h), the indictment specifies, either
27   explicitly or by reference to other counts in the indictment, the
28   particular offense against the United States.        The truncated

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1    version of the language assailed by defendant does not accurately
2    represent the contents of the indictment.
3                Likewise, the inclusion of a section identifying overt
4    acts in each count has no bearing on the validity of the
5    indictment.    The government properly concedes that, pursuant to a
6    recent Supreme Court decision, “conviction for conspiracy to
7    commit money laundering, in violation of 18 U.S.C. § 1956(h),
8    does not require proof of an overt act in furtherance of the
9    conspiracy.”    Whitfield v. United States, 543 U.S. 209, 219
10   (2005).    However, “[a]llegations in the indictment that are not
11   necessary to establish a violation of a statute . . . may be
12   disregarded if the remaining allegations are sufficient to charge
13   a crime.”    United States v. McIntosh, 23 F.3d 1454, 1457 (8th
14   Cir. 1994), quoted with approval in United States v. Garcia-Paz,
15   282 F.3d 1212, 1217 (9th Cir. 2002); see also United States v.
16   Fernandez, 388 F.3d 1199, 1221 (9th Cir. 2004) (holding that
17   “[t]he district court did not err in refusing to dismiss the
18   indictment” “because of mere surplusage”).       Surplusage is only
19   fatal when it “has the effect of misleading the defendant as to
20   the actual offense against which he is defending.”        United States
21   v. LeMay, 330 F. Supp. 628, 630 (D. Mont. 1971); see also United
22   States v. Love, 535 F.2d 1152, 1158 (9th Cir. 1976).
23               The mere inclusion of overt acts in a charge captioned
24   as one under 18 U.S.C. § 1956(h), alleging conspiracy to launder
25   monetary instruments, could not possibly lead Luong to think he
26   was being charged under the general conspiracy statute, 18 U.S.C.
27   § 371.    The language of the indictment is unambiguous regarding
28   the charge and the conduct supporting it.       Moreover, as the

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1    government notes, at the time the indictment was drafted, it was
2    not clear that overt acts could be omitted from an indictment
3    alleging a violation of 18 U.S.C. § 1956(h).         (U.S.A.’s Opp’n to
4    Def.’s Mot. to Dismiss 8).      The grand jury returned its
5    indictment several years before the Ninth Circuit decided United
6    States v. Tam, 240 F.3d 797 (2001), which held that “the money
7    laundering conspiracy statute does not require the indictment to
8    allege an overt act,” id. at 802, and well before the Supreme
9    Court conclusively resolved the question, Whitfield, 543 U.S. at
10   219.   The indictment, as written, was and is therefore proper.
11   III. Conclusion
12              In a previous order addressing another one of Luong’s
13   motions to dismiss counts in the indictment, this court observed
14   that “[t]he superseding indictment, which is 72 pages long, not
15   only sets forth each of the elements of the respective charges
16   but goes into painstaking detail describing the evidentiary facts
17   supporting each of the charges.       If the indictment is subject to
18   any legitimate criticism it is for being too lengthy and
19   containing too much detail.”       (Dec. 11, 2003 Order (addressing
20   motion to dismiss for failure to state an offense) 5-6.)           This
21   observation still holds true.       The grand jury’s superceding
22   indictment contains more than enough detail to appraise Luong of
23   the money laundering conspiracy charges he must defend against.
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1               IT IS THEREFORE ORDERED that defendant’s motion to
2    dismiss the money laundering conspiracy charges from the
3    indictment be, and the same hereby is, DENIED.
4    DATED:   January 25, 2006
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